          Case 4:18-cv-03127-CW Document 38 Filed 05/24/18 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

                                           :
 MCILWAIN, LLC, a/k/a Timothy J. McIlwain, :
 Attorney at Law,                          :
                                           :                     Civil No. 17-1257 (RBK/KMW)
                 Plaintiff,                :
                                           :                     ORDER
           v.                              :
                                           :
 Steve BERMAN, et al.,                     :
                                           :
                 Defendants.               :
                                           :

KUGLER, United States District Judge:

        THIS MATTER coming before the Court on Hagens Berman Sobel Shapiro, LLP’s

(“Hagens Berman”) Motion to Set Aside Default Judgment (mislabeled, as no judgment has been

entered) (ECF No. 21), Steve Berman’s Motion to Dismiss for Lack of Personal Jurisdiction (ECF

No. 27), and Hagens Berman’s Motion to Dismiss for Lack of Personal Jurisdiction (ECF No. 30),

and for the reasons expressed in the opinion issued this date;

        IT IS HEREBY ORDERED that Defendants’ motions are GRANTED; and

        IT IS FURTHER ORDERED that Plaintiff’s claims against Defendants are to be

transferred to the United States District Court for the Northern District of California pursuant to

28 U.S.C. § 1631. The Court finds that Plaintiff’s claims could have originally been brought in the

Northern District of California and that a transfer is in the interest of justice.



Dated: May 24, 2018                                             s/ Robert B. Kugler
                                                                ROBERT B. KUGLER
                                                                United States District Judge




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